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May 5, 2011

92 West Winspear Avenue
Buffalo, NY 14214-1116
jrozansk(@vahoo.com

Erie County Reapportionment Committee
Robert M. Graber, Clerk

Erie County Legislature

92 Franklin Street

4" Floor

Buffalo, NY 14202

Re: Possible Erie County Redistricting Map

Enclosed is a proposal showing suggested boundaries for creating eleven Erie County
Legislative Districts.

Since I did not have detailed 2010 Census tract data, my draft needs refinement. I realize
that there are a number of possibilities.

l hope that my submittal is helpful to the committee’s work.

Sincerely,

James E. Rozanski

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Erie County 2010 Reapportionment Details and Narrative

Erie County Population 2010 - 919,040
Erie County Population 2000 — 950,265
~31,225

Create 11 Legislative Districts with population of approximately 83,549 each.

The municipalities included in each district and the-corresponding municipal
populations:

DISTRICT 1

LACKAWANNA 18,141

W. SENECA 44,711

ELMA 11,317

MARILLA 5,327

Total 79,496

(Add portion of south Buffalo or Cheektowaga for adjustment to increase population)

DISTRICT 2
AURORA 13,782
ORCHARD PK 29,054
BOSTON 8,023
SARDINIA 2,775
WALES 3,005
HOLLAND 3,401
COLDEN 3,265
COLLINS 6,601
CONCORD 8,494

N. COLLINS 3,523
Total 81,923

DISTRICT 3

HAMBURG 56,936

EVANS 16,356

EDEN 7,688

BRANT 2,065

CATT RES 1,833

Total 84,878

Note Evans and Eden lost population.
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DISTRICT 4

CLARENCE 30,673

ALDEN 10,865

LANCASTER 41,604

NEWSTEAD 8,594

Total — . 91,736

Adjust to approximately 83,500

Move west part of Clarence to District 5 for adjustment. Note that population trend shows
this region increasing. .

DISTRICT 5

AMHERST EAST (partial)

CLARENCE WEST (partial)

Total approx. 83,500

Most of these people associate themselves with the East Amherst zip code.

DISTRICT 6
CHEEK TOWAGA 88,226
Note Cheektowaga population declining.

DISTRICT 7
BUFFALO (South) 87,103

DISTRICT 8 :
BUFFALO (Central) 87,103

DISTRICT 9
BUFFALO (North) 87,103

DISTRICT 10

GRAND IS 20,374

C-TON 15,130

T-TON 73,567

Total 109,071

Adjust to approximately 83,500

Move east portion of Town of Tonawanda to District 11.

Grand Island and Tonawanda (City and Town) share common interests and should be
together.

DISTRICT i1

AMHERST WEST

TONAWANDA TOWN EAST

Total approx, 83,500

This would be district bordering Niagara Falls Boulevard (Rt 62).

Go
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Narrative:

I simply used a county municipality map and 2010 city and town census population data
to outline eleven Erie County legislative Districts. Unfortunately, I was not able to obtain
2010 census tract data to be able to refine my suggested boundaries. That should be fairly
easy to do once census tract data is available. My suggested boundaries are flexible,
depending on more precise population data.

T tried to keep districts compact as possible. Thus communities with common interests
and concerns are unified to some extent. I was not concerned with political affiliations.

District 1 ~ Lackawanna was created from West Seneca. So there is sort of an historical:
perspective. There are bonds between residents of both communities. People have
migrated outward.

{ suggest that Buffalo be divided into three districts, North, South, and Central. Each
district would stretch from the Lake Erie or Niagara River waterfront to the City’s eastern
boundary. My reasoning im part is because Main Street tends to create a mental _
segregation barrier. By creating districts that encompass both sides of Main Street, this
barrier is lessened even eliminated. Each district would also include diverse racial, social,
and economic demographics. Each legislator would also represent a portion of the
region’s waterfront, probably our most important asset.

I believe that citizens have better representation if legislators represent a diverse
constituency. It also opens up the electoral process. This region will only prosper if we
operate as a whole rather than parts

1 apologize that I did not adhere to the committee’s guidelines. Without detailed census
tract data, requested information such as deviations, etc. would not be accurate or useful.

Buffalo, Town of Tonawanda, Amherst, and Clarence are divided in my proposal. But,
they would still be well represented in sensible districts.
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